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Counsel for Defendants

                             UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                SAN FRANCISCO DIVISION


 GREENACTION FOR HEALTH AND
 ENVIRONMENTAL JUSTICE,                              Case No. 3:24-cv-3899-VC

               Plaintiff,                            FEDERAL DEFENDANTS’ NOTICE
                                                     OF MOTION AND MOTION TO
                   v.                                DISMISS PLAINTIFF’S FIRST
                                                     AMENDED COMPLAINT
 UNITED STATES DEPARTMENT OF THE
 NAVY et al.,                                        Date:    January 23, 2025
                                                     Time:    10:00 a.m.
               Defendants.                           Location: Courtroom 4 – 17th Floor
                                                     Judge:    Hon. Vince Chhabria




Federal Defendants’ Notice of Motion and Motion to Dismiss
Plaintiff’s First Amended Complaint
Case No. 3:24-cv-3899-VC                                                                  1
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TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that, on January 23, 2025, at 10:00 a.m., or as soon thereafter

as the matter may be heard before the Honorable Vince Chhabria, Courtroom 4 – 17th Floor,

United States District Court for the Northern District of California, San Francisco Courthouse,

located at 450 Golden Gate Avenue, San Francisco, California 94102, Defendants Department of

the Navy and United States Environmental Protection Agency will and hereby do move this

Court for an order dismissing all claims alleged by Plaintiff Greenaction for Health and

Environmental Justice.

       Federal Defendants’ Motion to Dismiss is based upon this Notice, the accompanying

Memorandum of Points and Authorities, the Declaration of Danielle Janda, the Declaration of

David Mitchell, the Federal Defendants’ Request for Judicial Notice (ECF No. 20), the pleadings

and other papers on file in this action, and such other evidence as may be presented at or prior to

the hearing on this matter.


DATED: November 1, 2024                              Respectfully submitted,

                                                     TODD KIM
                                                     Assistant Attorney General
                                                     Environment & Natural Resources Division
                                                     United States Department of Justice

                                                      /s/ David Mitchell

                                                     LUCY E. BROWN
                                                     DAVID D. MITCHELL
                                                     Environmental Defense Section

                                                     Counsel for Defendants




Federal Defendants’ Notice of Motion and Motion to Dismiss
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Case No. 3:24-cv-3899-VC                                                                          2
